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 6

 7
                              UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9
      MICHAEL ANDERSON, derivatively on
10    behalf of ONTRAK, INC.,
11                                                  Case No.:
             Plaintiff,
12
             v.
13

14    TERREN S. PEIZER, BRANDON H.
      LAVERNE, CURTIS MEDEIROS,
15
      RICHARD A. BERMAN, MICHAEL
16    SHERMAN, EDWARD ZECCHINI,
      DIANE SELOFF, ROBERT REBAK,
17
      GUSTAVO      GIRALDO,    and
18    KATHERINE QUINN
19
             Defendants,
20
             and
21

22    ONTRAK, INC.,
23
             Nominal Defendant.
24

25
                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
26

27
                                 DEMAND FOR JURY TRIAL

28

                               Verified Shareholder Derivative Complaint
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 1
                                         INTRODUCTION
 2
           Plaintiff Michael Anderson (“Plaintiff”), by Plaintiff’s undersigned attorneys,
 3
     derivatively and on behalf of Nominal Defendant Ontrak, Inc. (“Ontrak” or the
 4
     “Company”), files this Verified Shareholder Derivative Complaint against Individual
 5
     Defendants Terren S. Peizer, Brandon H. LaVerne, Curtis Medeiros, Richard A. Berman,
 6
     Michael Sherman, Edward Zecchini, Diane Seloff, Robert Rebak, Gustavo Giraldo, and
 7
     Katherine Quinn (collectively, the “Individual Defendants,” and together with Ontrak, the
 8
     “Defendants”) for breaches of their fiduciary duties as controlling shareholder, directors,
 9
     and/or officers of Ontrak, unjust enrichment, abuse of control, gross mismanagement,
10
     waste of corporate assets, and for contribution under Sections 10(b) and 21D of the
11
     Securities Exchange Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint against
12
     the Individual Defendants, Plaintiff alleges the following based upon personal knowledge
13
     as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,
14
     based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys,
15
     which included, among other things, a review of the Defendants’ public documents,
16
     conference calls and announcements made by Defendants, United States Securities and
17
     Exchange Commission (“SEC”) filings, wire and press releases published by and regarding
18
     Ontrak, legal filings, news reports, securities analysts’ reports and advisories about the
19
     Company, and information readily obtainable on the Internet. Plaintiff believes that
20
     substantial evidentiary support will exist for the allegations set forth herein after a
21
     reasonable opportunity for discovery.
22
                                   NATURE OF THE ACTION
23
           1.     This is a shareholder derivative action that seeks to remedy wrongdoing
24
     committed by Ontrak’s controlling shareholder, directors, and officers between August 5,
25
     2020 through February 26, 2021, both dates inclusive (the “Relevant Period”).
26
           2.     Ontrak is a Delaware healthcare company. Its “Predict-Recommend-Engage”
27
     platform organizes and automates healthcare data integration and analytics. A core part of
28
                                                    1
                                Verified Shareholder Derivative Complaint
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 1
     this “Predict-Recommend-Engage” Platform is “Ontrak solutions” which provide
 2
     healthcare solutions to members with behavioral conditions resulting in chronic medical
 3
     conditions. The Company marketed itself as able to use predictive analytics and human
 4
     engagement to provide treatment for healthcare plan members suffering from behavioral
 5
     problems who generated high healthcare costs. Ontrak’s programs could purportedly reduce
 6
     the costs these members incurred.
 7
           3.     The Company’s largest customer was Aetna Inc. (“Aetna”). In November 2020,
 8
     the Company disclosed that Aetna was undertaking a compliance review of the Company
 9
     “despite the customer having no compliance issues or concerns with Ontrak.” The
10
     Company also indicated that it planned for a “significant expansion” with Aetna.
11
           4.     This was untrue. Aetna had instead tasked the Company with completing a
12
     corrective action plan and to submit information to Aetna demonstrating “meaningful
13
     measures” of the benefits from Ontrak’s programs. The Company did not do this by the
14
     end of the 2020 fiscal year, in time for Aetna to renew its contract with Ontrak, and in fact
15
     by February 2021, Ontrak’s Chief Executive Officer (“CEO”) informed employees that
16
     Aetna would not be renewing.
17
           5.     During the time that this was known but not disclosed, the Company
18
     conducted offerings of preferred stock, which collectively raised approximately $90
19
     million.
20
           6.     Subsequently, on Mach 1, 2021, the Company disclosed in a press release that
21
     Aetna had in fact terminated its contract with the Ontrak after “evaluat[ing] on a provider
22
     basis[.]” This evaluation was “based on [Ontrak’s] ability to achieve the lowest possible
23
     cost per medical visit, and not on [Ontrak’s] clinical outcomes data or medical cost
24
     savings.” Due to this contract termination, Ontrak revised downwards its revenue guidance
25
     for the 2021 fiscal year.
26
           7.     On news of this press release, the Company’s share price declined by
27
     approximately 46%, or $27.32, closing at $31.62 per share on March 1, 2021.
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                             Verified Shareholder Derivative Complaint
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 1
           8.     During the Relevant Period, the Individual Defendants breached their
 2
     fiduciary duties by personally making and/or causing the Company to make to the investing
 3
     public a series of materially false and misleading statements regarding the Company’s
 4
     business, operations, and prospects. Specifically, the Individual Defendants willfully or
 5
     recklessly made and/or caused the Company to make false and misleading statements that
 6
     failed to disclose, inter alia, that: (1) the Company was being evaluated on how it executed
 7
     on a corrective action plan sent by its largest customer, though the Company had no plans
 8
     to meaningful address this corrective action plan; (2) due to this evaluation, the Company’s
 9
     largest customer was not likely to find Ontrak to be effective and was therefore likely to
10
     not renew its contract with Ontrak; (3) the loss of its largest customer would significantly
11
     harm the Company’s revenue and financial results; (4) therefore, Ontrak could not achieve
12
     its projected revenue guidance for the 2021 fiscal year; and (5) the Company failed to
13
     maintain adequate internal controls. As a result of the foregoing, Ontrak’s public
14
     statements were materially false and misleading at all relevant times.
15
           9.     The Individual Defendants also breached their fiduciary duties by failing to
16
     correct and/or causing the Company to fail to correct these false and misleading statements
17
     and omissions of material fact.
18
           10.    Additionally, in breach of their fiduciary duties, the Individual Defendants
19
     caused the Company to fail to maintain adequate internal controls.
20
           11.    In light of the Individual Defendants’ misconduct, which has subjected the
21
     Company, its Executive Chairman and former CEO, its Chief Financial Officer (“CFO”),
22
     and its former Chief Operating Officer (“COO”) to a consolidated securities fraud class
23
     action lawsuit pending in the United States District Court for the Central District of
24
     California (the “Securities Class Action”), and further subjected the Company to the need
25
     to undertake intake internal investigations, the need to implement adequate internal
26
     controls, losses from the waste of corporate assets, and losses due to the unjust enrichment
27
     of the Individual Defendants who were improperly overcompensated by the Company
28
                                                  3
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 1
     and/or who benefitted from the wrongdoing alleged herein, the Company will have to
 2
     expend many millions of dollars.
 3
           12.    The Company has been substantially damaged as a result of the Individual
 4
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
 5
           13.    In light of the breaches of fiduciary duty engaged in by the Individual
 6
     Defendants, most of whom are the Company’s current directors, of the collective
 7
     engagement in fraud and misconduct by the Company’s directors, of the substantial
 8
     likelihood of the directors’ liability in this derivative action and of the Executive
 9
     Chairman’s, CFO’s, and former COO’s liability in the Securities Class Action, of their not
10
     being disinterested and/or independent directors, a majority of the Company’s Board of
11
     Directors (the “Board”) cannot consider a demand to commence litigation against
12
     themselves on behalf of the Company with the requisite level of disinterestedness and
13
     independence.
14
                                  JURISDICTION AND VENUE
15
           14.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
16
     because Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange Act,
17
     15. U.S.C. § 78j(b), and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f). Plaintiff’s
18
     claims also raise a federal question pertaining to the claims made in the Securities Class
19
     Action based on violations of the Exchange Act.
20
           15.    This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.
21
     Plaintiff and Defendants are citizens of different states and the amount in controversy
22
     exceeds the sum or value of $75,000 exclusive of interest and costs.
23
           16.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
24
     pursuant to 28 U.S.C. § 1367(a).
25
           17.    This derivative action is not a collusive action to confer jurisdiction on a court
26
     of the United States that it would not otherwise have.
27

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 1
           18.    Venue is proper in this District because Ontrak’s principal executive offices
 2
     are in this District. In addition, a substantial portion of the transactions and wrongs
 3
     complained of herein occurred in this District, the Defendants have conducted business in
 4
     this District, and Defendants’ actions have had an effect in this District.
 5
                                              PARTIES
 6
           Plaintiff
 7
           19.    Plaintiff is a current shareholder of Ontrak. Plaintiff has continuously held
 8
     Ontrak common stock since before the beginning of the Relevant Period. Plaintiff is a
 9
     citizen of Utah.
10
           Nominal Defendant Ontrak
11
           20.    Ontrak is a Delaware corporation with its principal executive offices at 2120
12
     Colorado Ave., Suite 230, Santa Monica, California 90404. Ontrak’s shares trade on the
13
     NASDAQ under the ticker symbol “OTRK.”
14
           Defendants
15
           21.    Defendant Terren S. Peizer (“Peizer”) is the founder of Ontrak and
16
     was CEO from 2003 to April 12, 2021. He has been Chairman of the Company’s
17
     Board since 2003 and became Executive Chairman on April 12, 2021. He is a
18
     controlling shareholder of Ontrak who owns 52.1% of the Company's outstanding
19
     stock as of June 10, 2021. Defendant Peizer is also named as a defendant in the Securities
20
     Class Action. He is a citizen of California.
21
           22.    Defendant Brandon H. LaVerne (“LaVerne”) has been the CFO of Ontrak
22
     since 2020. He is named as a defendant in the Securities Class Action. Upon information
23
     and belief, he is a citizen of Nevada.
24
           23.    Defendant Curtis Medeiros (“Medeiros”) was Ontrak’s President and COO
25
     from December 2019 until April 2021. He is named as a defendant in the Securities Class
26
     Action. Upon information and belief, he is a citizen of Florida.
27
           24.    Defendant Richard A. Berman (“Berman”) has been a director of the
28
                                                    5
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 1
     Company since 2014. He is Chairman of the Audit Committee. Upon information and
 2
     belief, he is a citizen of Florida.
 3
            25.    Defendant Michael Sherman (“Sherman”) has been a director of the Company
 4
     since 2017. Upon information and belief, he is a citizen of New York.
 5
            26.    Defendant Edward Zecchini (“Zecchini”) has been a director of the Company
 6
     since 2018. Upon information and belief, he is a citzen of New York.
 7
            27.    Defendant Diane Seloff (“Seloff”) has been as a director of the Company since
 8
     2018. She is a member of the Audit Committee. Upon information and belief, she is a
 9
     citizen of Tennessee.
10
            28.    Defendant Robert Rebak (“Rebak”) has been a director of the Company since
11
     2019. Upon information and belief, he is a citizen of New Jersey.
12
            29.    Defendant Gustavo Giraldo (“Giraldo”) has been a director of the Company
13
     since 2019. He is a member of the Audit Committee. Upon information and belief, he is a
14
     citizen of Florida.
15
            30.    Defendant Katherine Quinn (“Quinn”) has served as a director of the
16
     Company since August 2020. Upon information and belief, she is a citizen of Arizona.
17
                  FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
18
            31.    By reason of their positions as controlling shareholder, officers, directors,
19
     and/or fiduciaries of Ontrak and because of their ability to control the business and
20
     corporate affairs of Ontrak, the Individual Defendants owed Ontrak and its shareholders
21
     fiduciary obligations of trust, loyalty, good faith, and due care, and were and are required
22
     to use their utmost ability to control and manage Ontrak in a fair, just, honest, and equitable
23
     manner. The Individual Defendants were and are required to act in furtherance of the best
24
     interests of Ontrak and its shareholders so as to benefit all shareholders equally.
25
            32.    Each controlling shareholder, director, and officer of the Company owes to
26
     Ontrak and its shareholders the fiduciary duty to exercise good faith and diligence in the
27

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 1
     administration of the Company and in the use and preservation of its property and assets
 2
     and the highest obligations of fair dealing.
 3
           33.    The Individual Defendants, because of their positions of control and authority
 4
     as controlling shareholder, directors, and/or officers of Ontrak, were able to and did,
 5
     directly and/or indirectly, exercise control over the wrongful acts complained of herein.
 6
           34.    To discharge their duties, the controlling shareholder, officers, and directors
 7
     of Ontrak were required to exercise reasonable and prudent supervision over the
 8
     management, policies, controls, and operations of the Company.
 9
           35.    Each Individual Defendant, by virtue of their position as a controlling
10
     shareholder, director, and/or officer, owed to the Company and to its shareholders the
11
     highest fiduciary duties of loyalty, good faith, and the exercise of due care and diligence in
12
     the management and administration of the affairs of the Company, as well as in the use and
13
     preservation of its property and assets. The conduct of the Individual Defendants
14
     complained of herein involves a knowing and culpable violation of their obligations as
15
     controlling shareholder, directors, and officers of Ontrak, the absence of good faith on their
16
     part, or a reckless disregard for their duties to the Company and its shareholders that the
17
     Individual Defendants were aware or should have been aware posed a risk of serious injury
18
     to the Company. The conduct of the Individual Defendants who were also officers and
19
     directors of the Company has been ratified by the remaining Individual Defendants who
20
     collectively comprised Ontrak’s Board at all relevant times.
21
           36.    As senior executive officers and/or directors of a publicly-traded company
22
     whose common stock was registered with the SEC pursuant to the Exchange Act and traded
23
     on the NASDAQ, the Individual Defendants had a duty to prevent and not to effect the
24
     dissemination of inaccurate and untruthful information with respect to the Company’s
25
     financial condition, performance, growth, operations, financial statements, business,
26
     products, management, earnings, internal controls, and present and future business
27
     prospects, including the dissemination of false information regarding the Company’s
28
                                                    7
                             Verified Shareholder Derivative Complaint
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 1
     business, prospects, and operations, and had a duty to cause the Company to disclose in its
 2
     regulatory filings with the SEC all those facts described in this Complaint that it failed to
 3
     disclose, so that the market price of the Company’s common stock would be based upon
 4
     truthful and accurate information. Further, they had a duty to ensure the Company remained
 5
     in compliance with all applicable laws.
 6
           37.    To discharge their duties, the officers and directors of Ontrak were required
 7
     to exercise reasonable and prudent supervision over the management, policies, practices,
 8
     and internal controls of the Company. By virtue of such duties, the officers and directors
 9
     of Ontrak were required to, among other things:
10
                  (a)    ensure that the Company was operated in a diligent, honest, and prudent
11
     manner in accordance with the laws and regulations of Delaware, California, and the
12
     United States, and pursuant to Ontrak’s own Code of Ethics and Business Conduct;
13
                  (b)    conduct the affairs of the Company in an efficient, business-like manner
14
     so as to make it possible to provide the highest quality performance of its business, to avoid
15
     wasting the Company’s assets, and to maximize the value of the Company’s stock;
16
                  (c)    remain informed as to how Ontrak conducted its operations, and, upon
17
     receipt of notice or information of imprudent or unsound conditions or practices, to make
18
     reasonable inquiry in connection therewith, and to take steps to correct such conditions or
19
     practices;
20
                  (d)    establish and maintain systematic and accurate records and reports of
21
     the business and internal affairs of Ontrak and procedures for the reporting of the business
22
     and internal affairs to the Board and to periodically investigate, or cause independent
23
     investigation to be made of, said reports and records;
24
                  (e)    maintain and implement an adequate and functioning system of internal
25
     legal, financial, and management controls, such that Ontrak’s operations would comply
26
     with all applicable laws and Ontrak’s financial statements and regulatory filings filed with
27

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 1
     the SEC and disseminated to the public and the Company’s shareholders would be
 2
     accurate;
 3
                  (f)    exercise reasonable control and supervision over the public statements
 4
     made by the Company’s officers and employees and any other reports or information that
 5
     the Company was required by law to disseminate;
 6
                  (g)    refrain from unduly benefiting themselves and other Company insiders
 7
     at the expense of the Company; and
 8
                  (h)    examine and evaluate any reports of examinations, audits, or other
 9
     financial information concerning the financial affairs of the Company and to make full and
10
     accurate disclosure of all material facts concerning, inter alia, each of the subjects and
11
     duties set forth above.
12
           38.    Each of the Individual Defendants further owed to Ontrak and the
13
     shareholders the duty of loyalty requiring that each favor Ontrak’s interest and that of its
14
     shareholders over their own while conducting the affairs of the Company and refrain from
15
     using their position, influence or knowledge of the affairs of the Company to gain personal
16
     advantage.
17
           39.    At all times relevant hereto, the Individual Defendants were the agents of each
18
     other and of Ontrak and were at all times acting within the course and scope of such agency.
19
           40.    Because of their advisory, executive, managerial, directorial, and controlling
20
     positions with Ontrak, each of the Individual Defendants had access to adverse, nonpublic
21
     information about the Company.
22
           41.    The Individual Defendants, because of their positions of control and authority,
23
     were able to and did, directly or indirectly, exercise control over the wrongful acts
24
     complained of herein, as well as the contents of the various public statements issued by
25
     Ontrak.
26
         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
27

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                                                   9
                               Verified Shareholder Derivative Complaint
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 1
           42.    In committing the wrongful acts alleged herein, the Individual Defendants
 2
     have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
 3
     concert with and conspired with one another in furtherance of their wrongdoing. The
 4
     Individual Defendants caused the Company to conceal the true facts as alleged herein. The
 5
     Individual Defendants further aided and abetted and/or assisted each other in breaching
 6
     their respective duties.
 7
           43.    The purpose and effect of the conspiracy, common enterprise, and/or common
 8
     course of conduct was, among other things, to: (i) facilitate and disguise the Individual
 9
     Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,
10
     waste of corporate assets, gross mismanagement, abuse of control, and violations of the
11
     Exchange Act; (ii) conceal adverse information concerning the Company’s operations,
12
     financial condition, legal compliance, future business prospects and internal controls; and
13
     (iii) artificially inflate the Company’s stock price.
14
           44.    The Individual Defendants accomplished their conspiracy, common
15
     enterprise, and/or common course of conduct by causing the Company purposefully or
16
     recklessly to conceal material facts, fail to correct such misrepresentations, and violate
17
     applicable laws. In furtherance of this plan, conspiracy, and course of conduct, the
18
     Individual Defendants collectively and individually took the actions set forth herein.
19
     Because the actions described herein occurred under the authority of the Board, each of the
20
     Individual Defendants who is a director of Ontrak was a direct, necessary, and substantial
21
     participant in the conspiracy, common enterprise, and/or common course of conduct
22
     complained of herein.
23
           45.    Each of the Individual Defendants aided and abetted and rendered substantial
24
     assistance in the wrongs complained of herein. In taking such actions to substantially assist
25
     the commission of the wrongdoing complained of herein, each of the Individual Defendants
26
     acted with actual or constructive knowledge of the primary wrongdoing, either took direct
27

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                                Verified Shareholder Derivative Complaint
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 1
     part in, or substantially assisted in the accomplishment of that wrongdoing, and was or
 2
     should have been aware of his overall contribution to and furtherance of the wrongdoing.
 3
           46.    At all times relevant hereto, each of the Individual Defendants was the agent
 4
     of each of the other Individual Defendants and of Ontrak, and was at all times acting within
 5
     the course and scope of such agency.
 6
                        INDIVIDUAL DEFENDANTS’ MISCONDUCT
 7
                  Background
 8
           47.    Ontrak is a Delaware healthcare company. Its “Predict-Recommend-Engage”
 9
     platform organizes and automates healthcare data integration and analytics. A core part of
10
     this “Predict-Recommend-Engage” Platform is “Ontrak solutions” which provide
11
     healthcare solutions to members with behavioral conditions resulting in chronic medical
12
     conditions. The Company marketed itself as able to use predictive analytics and human
13
     engagement to provide treatment for healthcare plan members suffering from behavioral
14
     problems who generated high healthcare costs. Ontrak’s programs could purportedly reduce
15
     the costs these members incurred.
16
           48.    The Company’s largest customer was Aetna. For example, in the Company’s
17
     quarterly report with the SEC for the fiscal quarter ended September 30, 2020, Ontrak
18
     disclosed that Aetna accounted for 63.9% of the Company’s revenue for the three months
19
     ended September 30, 2020.
20
           49.    In November 2020, the Company disclosed that Aetna was undertaking a
21
     compliance review of the Company “despite the customer having no compliance issues or
22
     concerns with Ontrak.” The Company also indicated that it planned for a “significant
23
     expansion” with Aetna.
24
           50.    As part of the compliance review, Aetna had tasked the Company with
25
     completing a corrective action plan and to submit information to Aetna demonstrating
26
     “meaningful measures” of the benefits from Ontrak’s programs. The corrective action plan
27

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                                                 11
                            Verified Shareholder Derivative Complaint
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 1
     also required the Company to take other measures, such as showing that use of Ontrak’s
 2
     “care coaches” led members to meet with therapists.
 3
           51.    The Company did not implement the corrective action plan or satisfactorily
 4
     answer Aetna’s questions. The Company failed to implement the corrective action plan in
 5
     2020, in time for Aetna to renew their contract with the Company. By February 2021,
 6
     Ontrak’s Chief Executive Officer (“CEO”) informed employees that Aetna would not be
 7
     renewing.
 8
           Ontrak Performed Subpar Services and Improperly Billed
 9
           52.    Former employees cited in the first amended class action complaint in the
10
     Securities Class Action provided insight into how the Company’s practices did little to
11
     actually reduce the high healthcare costs of members suffering from behavioral issues.
12
           53.    Ontrak’s Director of Member Engagement Specialists Training from
13
     September 2016 until March 2018 (identified as “FE4”) noted that Ontrak’s member
14
     engagement specialists merely received a list of names of customer’s healthcare members
15
     who had: i) a chronic medical condition; ii) a history of substance abuse or mental health
16
     problems, and iii) had generated $7,500 or more in health plan benefits. According to FE4,
17
     member engagement specialists would call the names on these lists, inform them that they
18
     were entitled to additional benefits under their plan and that their insurer wanted to be
19
     proactive with their health, and attempt to enroll the person with Ontrak. If they did enroll,
20
     they were then an “Ontrak member.”
21
           54.    A former member engagement specialist (identified as “FE5”), noted that due
22
     to medical privacy laws, there was no indication on these lists of who suffered from what
23
     medical conditions, and so in the course of these calls the member engagement specialists
24
     attempted to figure it out by asking probing questions.
25
           55.    If a person decided to become an Ontrak member, they were then referred to
26
     an Ontrak “care coach.” According to FE4, once an Ontrak member decided on a plan with
27
     a care coach, they would be directed to a “clinical operations coordinator” who would then
28
                                                  12
                             Verified Shareholder Derivative Complaint
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 1
     set up appointments with psychiatrists, dietitians, counselors, or other specialists in-
 2
     network. The member could not do this on their own.
 3
           56.    A former Director of Quality and Organizational Performance (identified as
 4
     “FE1”) at Ontrak, from February 2017 to December 2020, noted that Ontrak’s program
 5
     lasted 52 weeks.
 6
           57.    FE4 stated that Aetna provided 85% of Ontrak’s outreach pool, and was thus
 7
     the largest source of Ontrak member. FE4 also stated that Aetna paid Ontrak $750 for each
 8
     member that Ontrak enrolled and further that Aetna provided outreach scripts to Ontrak to
 9
     use when reaching out to Aetna members.
10
           58.    A former quality assurance analyst at Ontrak (identified as “FE6”), described
11
     how Ontrak billed Aetna for each time an Ontrak member interacted with their care coach,
12
     which consisted at least of a once-a-month check-in. Another former member engagement
13
     specialist (identified as “FE7”), noted that even if the care determined appropriate for a
14
     person was not covered by their underlying healthcare plan, and Ontrak knew this, that
15
     Ontrak would still enroll them as an Ontrak member to charge Aetna for up to three months
16
     of covered care coach check-ins despite their being no possibility of further services.
17
           59.    Another of Ontrak’s member engagement specialists (identified as “FE8”)
18
     who worked at Ontrak for four years, was appointed to a data algorithm team whose goal
19
     was to identify why so many Aetna members were ultimately being deemed ineligible for
20
     further Ontrak services. They found that Aetna Medicare plans did not cover mental health
21
     treatment. However, when Ontrak billed Aetna for these members’ not-covered mental
22
     health treatment, Aetna would sometimes pay the first bill anyways. According to FE8, as
23
     a result of this, Ontrak’s management did not want to resolve the issue of so many Aetna
24
     members enrolling and then later being deemed ineligible.
25
           60.    A former Ontrak design researcher and strategist (identified as “FE3”), whose
26
     job was to quantify Ontrak’s benefit to Aetna, noted that by May 2020, Aetna was seriously
27
     doubting the value Ontrak provided to Aetna. Emblematic of this doubt was Aetna’s
28
                                                  13
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 1
     decision in May 2020 to stop providing Ontrak with the information needed to reach out to
 2
     new Aetna members to try to enroll them with Ontrak, which, as related above, FE4
 3
     indicated was as much as 85% of Ontrak’s outreach pool. FE5 corroborated this, noting
 4
     that by September 2015 he stopped receiving new names to reach out to and instead was
 5
     tasked with reaching out to already-contacted people over and over again.
 6
           61.    A former Director of Operations at Ontrak (identified as “FE2”), stated that
 7
     Aetna and the Company had conference calls every Friday to discuss ongoing issues. Dr.
 8
     Bill Gillis, Aetna’s Clinical Director of Behavioral Health Operations and Program Design,
 9
     began joining these calls once Aetna became suspicious of Ontrak’s billing practices, and,
10
     according to FE2, would “tear [the Ontrak team] a new one” on the calls. Aetna’s chief
11
     issue was for being billed when no services were being provided. When Ontrak countered
12
     by noting that even if further services could not be provided, that members did get to talk
13
     to care coaches, Aetna requested records of this. Aetna then determined that in some cases,
14
     even as they got billed for care coach meetings, these meetings did not occur but they were
15
     still billed. FE2 noted that this issue was raised even before Aetna demanded the Company
16
     adhere to a corrective action plan in July 2020.
17
           62.    When the corrective action plan was transmitted to the Company, Ontrak was
18
     given sixty days to answer. Aetna wanted evidence of the benefit Ontrak was providing to
19
     Aetna members, clarity about the Company’s billing practices, a showing that speaking to
20
     care coaches translated into members actually seeing therapists, and assurance that Ontrak
21
     was adhering to proper practices in enrolling members. Moreover, Aetna wanted a refund
22
     for certain payments it made to Ontrak despite members not actually receiving any
23
     services. According to FE1 and FE2, they understood this corrective action plan to signal
24
     the end of Aetna’s relationship with Ontrak.
25
           63.    Following the receipt of the corrective action plan in July 2020, FE1 joined in
26
     three days of Zoom meetings with Ontrak executives, led by Defendant Medeiros, to
27
     discuss it. FE1 recounted that the executives in the meetings did not consider the corrective
28
                                                  14
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 1
     action plan to be a serious issue, and wanted to do the bare minimum to address it. FE1
 2
     specifically recounted that Charles Polatsek, Ontrak’s Vice President of Sales and Strategic
 3
     Partnerships, stated that Aetna was just trying to scare them and was not going to act.
 4
           64.    FE1 stated that the Company never fully completed the corrective action plan,
 5
     and only provided Aetna with partial responses to some of their questions. FE2 stated that
 6
     after providing this incomplete response, Aetna provided no acknowledgment for three
 7
     months.
 8
           65.    FE7 recalled that in the summer of 2020, Ontrak member engagement
 9
     specialists became aware of job postings by Aetna for their own member engagement
10
     specialist positions. They were concerned that these postings indicated that Aetna planned
11
     to sever ties with the Company and create their own in-house member engagement team,
12
     which would devastate the Company given how much of Ontrak’s business came from
13
     Aetna. In response, the Company began holding monthly Zoom meetings open to all
14
     employees; during one such call, FE7 remembered an employee asking senior management
15
     if employees’ jobs were at risk. The question went unanswered.
16
           66.    FE3 said that the Company still had not completed Aetna’s corrective action
17
     plan by the end of the year, 2020, and that for this reason she was concerned Aetna would
18
     not renew its contract. FE7 similarly recalled that in an early 2021 Zoom meeting,
19
     Defendant Peizer told employees that he would “pray” that Aetna renewed the contract.
20
           67.    In January or February of 2021, FE6 stated that Defendant Peizer emailed the
21
     entire Company to alert them that Aetna was not renewing its contract. In a subsequent
22
     Zoom meeting, Defendant Peizer stated that no one was getting laid off and that the
23
     Company would recover. Another former employee who attended this meeting (identified
24
     as “FE9”), stated that Defendant Peizer cried throughout the meeting.
25
           False and Misleading Statements Made During the Relevant Period
26
           August 5, 2020 Press Release, Quarterly Report, and Earnings Call
27

28
                                                 15
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 1
           68.    On August 5, 2020, Ontrak issued a press release announcing its financial
 2
     results for the fiscal quarter ended June 30, 2020. The press release contained a statement
 3
     from Defendant Peizer that during the second quarter, the Company “grew [its] pipeline of
 4
     potential new customers to its most robust level in the company’s history.”
 5
           69.    The same day, Ontrak filed a quarterly report on Form 10-Q with the SEC for
 6
     the fiscal quarter ended June 30, 2020, (the “2Q20 10-Q”). It did not disclose the
 7
     Company’s receipt of Aetna’s corrective action plan in July or otherwise note any issues
 8
     in the relationship with the Company’s largest customer. The 2Q20 10-Q was signed by
 9
     Defendants Peizer and LaVerne and contained certifications, also signed by Defendants
10
     Peizer and LaVerne, pursuant to Rules 13a-14(a) and 15d-14(a) promulgated under the
11
     Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) attesting to the accuracy of
12
     the financial statements contained in the 2Q20 10-Q, the disclosure of any material changes
13
     to the Company’s internal controls, and the disclosure of any fraud committed by the
14
     Company, its officers, or its directors.
15
           70.    Later on August 5, 2020, the Company held a conference call concerning its
16
     second quarter 2020 financial results. On the call, Defendant Peizer postured as if Ontrak’s
17
     business with Aetna was growing, saying, in relevant part:
18
           Whether it is further expansions with Aetna and other existing customers, the
19         impending launch of our signed Cigna expansions, enhancements to our
           algorithms feeding the outreach pool or potential new logos and pilots, I’m
20
           really excited to see the hard work, dedication, passion and grit of every
21         Ontrak teammate as we proceed onto new heights.
22         71.    The statements and omissions made on August 5, 2020 referenced above were
23   false and misleading for a number of reasons. In May 2020, Aetna stopped providing the
24   Company with potential new members, meaning that the Company’s “pipeline of potential
25   new customers” was much worse off than before, not at “its most robust level in the
26   company’s history.” In addition, the Company had received numerous inquiries from Aetna
27   regarding their billing practices before receiving a corrective action plan which challenged
28
                                                 16
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 1
     the efficacy of Ontrak’s services. Ontrak was largely planning to ignore this corrective
 2
     action plan, which undoubtedly negatively implicated the Company’s relationship with
 3
     Aetna. This further negates the idea that the Company was better positioned than ever
 4
     before to acquire new customers. And, given that the receipt of the corrective action plan
 5
     indicated that Aetna may take more action if the Company did not adhere to the plan, this
 6
     constituted a material risk to the Company which warranted disclosure or at least mention
 7
     in the 2Q20 10-Q. This is especially true given that Aetna generated well over half of the
 8
     Company’s revenue. Finally, , it was misleading for Defendant Peizer to indicate that
 9
     business would expand with Aetna, when in fact there were serious indicators, including
10
     Aetna cutting the Company off from potential new customer lists and demanding the
11
     Company adhere to a corrective action plan, that business would contract or terminate
12
     altogether, as eventually happened.
13
           72.    Following this series of false and misleading statements which artificially
14
     inflated the value of the Company’s stock, the Company was able to close a preferred stock
15
     offering on August 26, 2020, with aggregate gross proceeds of $48.9 million, after
16
     accounting for the full exercise of the underwriters’ overallotment option which closed on
17
     September 8, 2020.
18
           November 5, 2020 Press Release, Quarterly Report, and Earnings Call
19
           73.    On November 5, 2020, the Company issued a press release announcing its
20
     financial results for the fiscal quarter ended September 30, 2020. The press release quoted
21
     Defendant Peizer as stating that: “New compliance reviews conducted by our largest
22
     customer for all of its vendors disrupted data refreshes from July, despite the customer
23
     having no compliance issues or concerns with Ontrak.” (Emphasis added.) It further
24
     quoted him as stating that “Ontrak’s rapid engagement and enrollment of the members of
25
     one of our largest plan partners exceeded estimated rates to such an extent that they asked
26
     us to reschedule further enrollment to 2021 to allow their budget to catch up.”
27

28
                                                 17
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 1
           74.    Moreover, the press release highlighted that revenue for the third quarter had
 2
     grown 172% year-over-year, 39% quarter-over-quarter, and that “[r]evenue [g]rowth in
 3
     2021 [is] expected [to be] in excess of 100%[.]”
 4
           75.    The statements above from the November 5, 2020 press release were false and
 5
     misleading and failed to disclose that Aetna did have compliance issues and concerns
 6
     specific to Ontrak, regarding both the efficacy of their services and their billing practices.
 7
     Aetna had sent the Company a corrective action plan in July 2020 and expected the
 8
     Company to implement it and to substantively answer Aetna’s questions, which the
 9
     Company was not planning to do. In light of this, it was false and misleading to suggest
10
     that enrollment was going so well that “one of [Ontrak’s] largest plan partners” was
11
     progressing so quickly that they needed Ontrak to stop enrolling new members.
12
     Additionally, projecting revenue growth of 100% was completely unrealistic and
13
     unsupported at the time that projection was made, because the Company’s largest customer
14
     was at serious risk of terminating its contract with Ontrak, which it later did.
15
           76.    Later on November 5, 2020, the Company held an earnings conference call
16
     with investors and analysts. After repeating the expected revenue growth figure of 100%,
17
     Defendant Peizer attempted to further explain away Aetna’s compliance review of the
18
     Company, stating:
19
           [W]e would also like to point out that our largest customer is conducting
20
           compliance reviews of all of their vendors. These reviews have disrupted data
21
           refreshes for the Ontrak program since July, putting further pressure on
22
           our outreach pool numbers despite the customer having no compliance
23
           issues or concerns with Ontrak. . . . Importantly, this is one of the plans for
24
           which we anticipate continued significant expansion.
25
     (Emphasis added.)
26
           77.    Asked by Charles Rhee of Cowen and Company, LLC about these
27
     developments, Defendant Medeiros said: “So as far as timing with the expected data
28
                                                  18
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 1
     refreshes to be turned back on, we have a mutual agreement with the client based on our
 2
     current understanding that we expect the data to be turned back on by the end of the
 3
     year.” (Emphasis added.)
 4
           78.    Defendant Medeiros continued by stating later on the call that, “with Aetna,
 5
     we have scheduled multiple geography expansions that we hope to sign in the fourth
 6
     quarter and roll out early in the year.”
 7
           79.    Defendant Peizer further discussed on the call a potential expansion with
 8
     Aetna into servicing members with depression and anxiety. Defendant Peizer indicated that
 9
     though the Company was not currently included on any such plans that, “I would be
10
     surprised, and we would all personally be surprised and disappointed, if the expansions
11
     that we are alluding to don’t happen in 2021.” (Emphasis added.)
12
           80.    Further, Defendant Peizer reiterated on the call that “data refresh” was not a
13
     performance issue. Responding to Richard Collamer Close of Cannacord Genuity Corp.,
14
     Defendant Peizer said that “it really has nothing to do with us. In fact, quite the contrary.
15
     Was just a gut punch because it really does impact our ability to optimize what our
16
     capability is.” (Emphasis added.)
17
           81.    The statements on the November 5, 2020 conference call were false and
18
     misleading. As stated, Aetna did have specific compliance issues and concerns with
19
     Ontrak, concerning its efficacy and its billing practices, and had transmitted a corrective
20
     action plan to the Company in July 2020 expressing these concerns months before. Still,
21
     Defendants Peizer and Medeiros made these statements indicating that this was a routine
22
     compliance check that had nothing to do with the Company specifically. In light of this
23
     fact and that the Company did not plan to significantly address the concerns raised by the
24
     corrective action plan, it was completely false and misleading for Defendant Peizer and
25
     Medeiros to posture as if Ontrak had plans, or was extremely confident of future plans, to
26
     expand into new geographies and patient groups with Aetna, given that Aetna’s corrective
27
     action plan was essentially being ignored and that they were therefore unlikely to give new
28
                                                  19
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 1
     business to the Company. Finally, Defendant Medeiros’ statement that the Company had a
 2
     “mutual agreement” with Aetna to have “the data [] turned back on by the end of the year”
 3
     was simply false. There was no agreement and given that Aetna’s corrective action plan
 4
     was not being acted on, it was unlikely Aetna would turn the data “back on” without the
 5
     Company taking meaningful steps to address Aetna’s concerns. In fact, Aetna would not
 6
     only not turn the data “back on” but would decide not to renew their contract with the
 7
     Company.
 8
           82.   Also on November 5, 2020, Ontrak filed a quarterly report on Form 10-Q with
 9
     the SEC for the fiscal quarter ended September 30, 2020, (the “3Q20 10-Q”). The 3Q20
10
     10-Q was signed by Defendants Peizer and LaVerne and contained SOX certifications also
11
     signed by Defendants Peizer and LaVerne. The 3Q20 10-Q omitted any reference to
12
     Aetna’s corrective action plan or the Company’s response to it.
13
           83.   The 3Q20 10-Q contained the following table showing the “concentration of
14
     credit risk by customer revenue as a percentage of total revenue:”
15

16

17

18

19

20

21

22
           84.   Moreover, the 3Q20 10-Q noted that:
23
           A substantial percentage of our revenues are attributable to four large
24         customers, any or all of which may terminate our services at any time.
25

26         Four customers accounted for an aggregate of 95% and 85% of our total
           revenue for the three months ended September 30, 2020 and 2019,
27         respectively, and four customers accounted for an aggregate of 85% and 83%
28         of our revenue for the nine months ended September 30, 2020 and 2019,
                                                 20
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 1         respectively. Also, four customers represented an aggregate of 100% and 89%
 2         of our total accounts receivable as of September 30, 2020 and December 31,
           2019, respectively. We expect that revenues from a limited number of
 3         customers will continue for the foreseeable future. Sales to these customers
 4         are made pursuant to agreements with flexible termination provisions,
           generally entitling the customer to terminate with or without cause on limited
 5         notice to us. We may not be able to keep our key customers, or these
 6         customers may decrease their enrollment levels. Any substantial decrease or
           delay in revenues relating to one or more of our key customers would harm
 7         our financial results. If revenues relating to current key customers cease or are
 8         reduced, we may not obtain sufficient enrollments from other customers
           necessary to offset any such losses or reductions.
 9
           85.    Moreover, the 3Q20 10-Q stated that:
10
           Our programs may not be as effective as we believe them to be, which
11         could limit our potential revenue growth.
12         Our belief in the efficacy of our Ontrak solution is based on a limited
           experience with a relatively small number of patients. Such results may not
13
           be statistically significant, have not been subjected to close scientific scrutiny,
14         and may not be indicative of the long-term future performance of treatment
           with our programs. If the initially indicated results cannot be successfully
15
           replicated or maintained over time, utilization of our programs could decline
16         substantially. There are no standardized methods for measuring efficacy of
           programs such as ours. Even if we believe our solutions are effective, our
17
           customers could determine they are not effective by utilizing different
18         outcome measures. In addition, even if our customers determine our solutions
           are effective they may discontinue them because they determine that the
19
           aggregate cost savings are not sufficient or that our programs do not have a
20         high enough return on investment. Our success is dependent on our ability to
           enroll third-party payor members in our Ontrak solutions. Large scale
21
           outreach and enrollment efforts have not been conducted and only for limited
22         time periods and we may not be able to achieve the anticipated enrollment
           rates.
23
           86.    The statements and omissions in the 3Q20 10-Q were false and misleading.
24
     While the 3Q20 10-Q noted the size of Ontrak’s largest customer, Aetna, and contained
25
     generic risk warning about the possibility of losing business from its largest customers and
26
     about the potential of customers finding Ontrak’s programs ineffective, it couched these
27
     risks warnings in speculative and hypothetical language. It did not make any mention of
28
                                                   21
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 1
     the specific, known risk facing the Company of losing Aetna’s business, as opposed to any
 2
     large customers, because Aetna had specific concerns about the Company’s efficacy and
 3
     billing practices, had communicated these concerns to the Company, and had set out
 4
     specific steps it wanted the Company to take to remedy these concerns. Moreover, as the
 5
     Company was not adhering to Aetna’s corrective action plan, which the 3Q20 10-Q did not
 6
     even discuss, there was a heightened risk of losing Aetna’s business which would severely
 7
     impact the Company’s revenue, as ultimately happened.
 8
           November 2020 Analyst Reports
 9
           87.   The market accepted the Individual Defendants’ false and misleading
10
     statements as true. Cannacord Genuity Corp. issued a November 5, 2020 report to
11
     explaining that Aetna was not sharing potential new customer data with Ontrak because
12
     “CVS required all 3rd party vendors, including those for Aetna, to be reviewed for
13
     compliance requirements,” but that Ontrak was otherwise “continu[ing] to execute.
14
     Likewise, Cowen and Company issued its own November 5, 2020 report that highlighted
15
     Ontrak’s growing enrollment and did not place great weight on “a data feed issue from
16
     [Aetna].”
17
           88.   In a subsequent November 25, 2020 report from Cowen and Company, titled
18
     “Takeaways from Investor Meetings with Management,” Cowen and Company reported
19
     that Ontrak’s management “expects the data feed issue with [Aetna] to be resolved in
20
     Dec.,” and that management planned an “expansion with [Aetna] (already in late stages).”
21
           89.   These statements by Ontrak’s management to Cowen and Company were
22
     false and misleading because they indicated that Aetna’s cutting the Company off from
23
     potential new customer data was likely to be resolved in December and that the Company
24
     had late stage expansion plans with Aetna. This was untrue. Aetna had transmitted a
25
     corrective action plan to Ontrak in July and the Company was not acting on it. Therefore,
26
     it was completely baseless to assert that the differences between the companies would be
27

28
                                                22
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 1
     resolved by December and that an expansion was “already in late stages.” In fact, Aetna
 2
     would soon decide to cease doing business with Ontrak.
 3
           90.    Still, while the price of Ontrak securities was artificially inflated by
 4
     Defendants’ false and misleading statements, Ontrak closed another offering of preferred
 5
     stock on December 21, 2020, raising gross proceeds of approximately $42.8 million. This
 6
     offering and the August 2020 preferred stock offering demonstrate the Individual
 7
     Defendants motive in promulgating the false and misleading statement, so that they could
 8
     raise money while the Company’s stock was buoyed by artificially inflated prices.
 9
            The Truth Emerges but the False and Misleading Statements Continue
10
           91.    On March 1, 2021, Ontrak issued a press release announcing the Company’s
11
     financial results fourth quarter and full fiscal year ended December 31, 2020. The press
12
     release revealed that the Company’s largest customer had terminated its contract with
13
     Ontrak, effective June 26, 2021.
14
           92.    The press release contained statements from Defendant Peizer, stating in
15
     relevant part:
16
           Mr. Peizer continued, “After a long process with our largest customer where
17         we believed we were working towards an extended and expanded contract, we
           were notified after market close on February 26, 2021 that our participation
18
           status with this customer will be terminated effective June 26, 2021. We
19         were advised to stop enrollment of new members for this customer and await
           guidance from the customer on transition plans for the 8,400 members who
20
           are currently benefiting from the Ontrak program. We remain fully
21         committed to the health plan and to its members, and will ensure that every
           member receives quality care through the transition, so that pandemic-related
22
           anxiety is not heightened by the change in the member’s care team.”
23
           Mr. Peizer added, “The relationship with our Ontrak-A customer was
24         unique, because they evaluated Ontrak on a provider basis, not as a vendor
           as do all of our other health plan partners. As such, the customer evaluated
25
           our performance based on our ability to achieve the lowest possible cost per
26         medical visit, and not on our clinical outcomes data or medical cost savings,
           which were meaningful and significant. Unlike our other health plan
27
           partners, we interacted only with the behavioral health division, with no
28         involvement from the medical division of the plan. We believe that the
                                                23
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 1          coaching model which Ontrak has pioneered for over a decade was seen by
 2          the customer to be less relevant to their performance metrics. We have
            consistently found that our care coaches have a tremendously positive impact
 3          on member experience and readiness to engage with the healthcare system.
 4          This is the reason that many digital healthcare apps are now building care
            coaching into their products. We have a strategy in place to regain the Ontrak-
 5          A business and are currently in late stage discussions with other customers
 6          whose metrics align with our value proposition of an integrated approach to
            whole health that delivers an average ROI of 3.7, average cost savings of 40%
 7          to 50%, and durable clinical outcomes with exceptionally high program
 8          retention and member experience scores. Collectively, we have a market
            opportunity of over $30 billion.”
 9
     (Emphasis added.)
10
            93.   The press release continued by disclosing certain financial figures, including
11
     that the Company no longer expected 100% revenue growth, stating in relevant part:
12
            Fourth Quarter 2020 and Recent Operating Highlights:
13
        •   Total enrolled members increased to 15,702 at the end of Q4 2020 and
14          stands at 15,822 as of today.
15      •   Effective Outreach Pool of approximately 152,000 at the end of Q4 2020.
        •   Gross enrollment for the two-month period ended February 28, 2021,
16          excluding the Ontrak-A customer, was 2,683, reflecting a 60% annualized
17          enrollment rate.
18                                  ⁎          ⁎            ⁎
19
            For the year ending December 31, 2021, the Company provides the
20          following outlook:
21
        •   Revenue of $100 Million. Initially, we were going to guide to 100% growth
22          with revenues of $165 million. In light of Ontrak-A, we hopefully are
            being conservative with our $100 million revenue guidance. Of that
23
            number, approximately $88 million is either already under contract or in the
24          signature phase and those health plan partners are already contemplating
            further expansions. Moreover, we see tremendous upside with large plans in
25
            our pipeline.
26      •   Given the strength of our pipeline, we anticipate returning to a 100%
27
            revenue growth rate in 2022.
     (Italicized emphasis added.)
28
                                                   24
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 1
           94.    Even as Defendant Peizer came clean, he continued making false and
 2
     misleading statements about what had occurred. For example, despite stating in the press
 3
     release that the Company found out Aetna was terminating its contract “after market close
 4
     on February 21, 2021[,]” former Ontrak employees stated that this news was broken
 5
     internally in early February. Likewise, though Defendant Peizer in the press release framed
 6
     Aetna’s decision to terminate the contract as stemming from Aetna’s evaluation prizing
 7
     lowest cost per visit over clinical outcomes or longer-term cost savings, the press release
 8
     does not mention at all that the Company received a corrective action plan from Aetna in
 9
     July, took very few steps to implement it or otherwise to allay Aetna’s concerns, did not
10
     substantially answer questions Aetna had about the Company’s efficacy and billing
11
     practices (including billing for care coach visits that never occurred), and did not provide
12
     evidence that seeing care coaches led members to see therapists or provide other evidence
13
     of the efficacy of Ontrak’s programs.
14
           95.    On news of this press release, the Company’s share price declined by
15
     approximately 46%, or $27.32, closing at $31.62 per share on March 1, 2021.
16
           96.    In a conference call with investors and analysts later the same day, March 1,
17
     2021, Defendants Medeiros made more false and misleading statements about what had
18
     occurred leading up to the contract termination. Defendant Medeiros stated:
19
           In mid-December, we were notified that despite the data feed being complete,
20         it wasn’t going to turn back on until we signed a new contract. And so we put
           our heads down and had been working with the team on the Aetna side on a
21
           new contract since that time.
22
           97.    Defendant Medeiros later stated on the call that “when I received the call late
23
     Friday that talked about the termination, it was a surprise. We were working towards a new
24
     agreement and an expanded relationship.”
25
           98.    The statements by Defendant Medeiros on the March 1, 2021 conference call
26
     were false and misleading. The first statement implied that the data feed had been shut off
27
     in December due to a general review of all of vendors, and that at that time Aetna began
28
                                                 25
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 1
     negotiating a way for the Company to have the data feed turned back on. However, the
 2
     feed was shut off in May 2020, stemming from issues that were specific to the Company
 3
     and that were transmitted to the Company in specific form via the July 2020 corrective
 4
     action plan. Moreover, Defendant Medeiros indicated that he was taken by surprise when
 5
     the contract was terminated in late February 2021, despite other former employees of the
 6
     Company stating that this news had been circulated internally via email and follow-up
 7
     Zoom meeting in late January or early February.
 8
           99.   On March 9, 2021, the Company held another conference call to discuss the
 9
     financial results for fourth quarter and full year ended December 31, 2020. On this call,
10
     Defendant Peizer stated that “[t]he most significant headwind is the Aetna contract
11
     termination in June” and that Ontrak “will continue to graduate and disenroll members
12
     through the end of June.”
13
           100. Defendant LaVerne further discussed impact the Aetna contract and its loss
14
     would have on the Company, stating:
15
           In 2020, Aetna represented 58% of total revenue. At the end of 2020, they
16         represented approximately 82% of the outreach pool and 61% of members.
           During the fourth quarter, the revenue was also 58% of total revenue, yet
17
           represented 66% of the average member count. What this demonstrates is
18         that our average revenue per member during the quarter was less for this
           customer than the remainder of the business.
19
           As I said before, the revenue per member for all of 2020 was $7,200. Yet
20
           excluding Aetna members, it was nearly $9,500.While the outreach pool will
21         be significantly impacted by the loss of this customer, the remaining outreach
           pool should have a significantly increased enrollment rate.
22
     (Emphasis added.)
23
           101. Defendant Peizer continued on the call by stating that:
24
           Because we’re classified as a provider, we were seen as an expensive provider
25         because where our program might seem expensive. But as I pointed out
26         earlier, we’re really the lowest cost provider because our savings is so much
           greater than the actual cost of the program. So like all of our – as I mentioned
27         last week and today, we work with the medical side on all of our health plans.
28
                                                 26
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 1          That’s what distinguishes this from – Aetna from the others in our
 2          relationship. So we’re going to endeavor to engage those that this matters.
            And believe me, there are people at Aetna and there are people at CVS who
 3          bought Aetna that care about the whole health and integrated care of these
 4          membership populations.
     (Emphasis added.)
 5
            102. On March 16, 2021, Jonathan Mayhew was announced as Defendant Peizer’s
 6
     replacement as CEO, with Defendant Peizer set to transition to Executive Chairman. On
 7
     April 8, 2021, the Company announced Defendant Medeiros’ resignation.
 8
            103. On May 6, 2021, the Company issued a press release announcing its financial
 9
     results for the first fiscal quarter ended March 31, 2021. The press release acknowledged
10
     the decline in members, employees, and revenue outlook, stating:
11

12          First Quarter 2021 and Recent Operating Highlights:
13
        •   Total enrolled members numbered 14,868 at the end of Q1 2021 and
14          decreased to 12,376 as of the date of this release. The transitional
            disenrollment of members in our Ontrak-A program began in April, and we
15
            expect to disenroll the remaining 4,160 Ontrak-A members by the end of June.
16      •   The Company initiated a reduction in workforce as a result of the termination
            notice from Ontrak-A. The workforce reduction plan, which was designed to
17
            effectively align our resources, manage our operating costs, and address the
18          change in staffing needs in the short term, affected approximately 35% of full
            time positions. We incurred $1.0 million in the current period and estimate
19
            $0.3 million to be incurred in the second quarter, with the plan expected to
20          reduce annual compensation expense by approximately $17 million, primarily
            in cost of revenue.
21

22                                   ⁎            ⁎            ⁎
23          For the year ending December 31, 2021, the Company provides the
24          following outlook:
25          Given the arrival of Jonathan Mayhew as our CEO, we feel it would be
26          appropriate to revise our guidance to revenue of $80-85 million, reflecting
            current expectations with our existing health plan customers regarding
27          outreach pool, budget considerations and timing of expansions.
28
                                                 27
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 1
                                     DAMAGES TO ONTRAK
 2
           104. As a direct and proximate result of the Individual Defendants’ misconduct,
 3
     Ontrak has lost and will continue to lose and expend many millions of dollars.
 4
           105. Such expenditures include, but are not limited to, fees associated with the
 5
     Securities Class Action filed against the Company and the Company’s Executive
 6
     Chairman, CFO, and former COO, and any internal investigations, and amounts paid to
 7
     outside lawyers, accountants, and investigators in connection thereto.
 8
           106. Additionally, these expenditures include, but are not limited to, lavish
 9
     compensation, benefits, and other payments provided to the Individual Defendants who
10
     breached their fiduciary duties to the Company.
11
           107. As a direct and proximate result of the Individual Defendants’ conduct,
12
     Ontrak has also suffered and will continue to suffer a loss of reputation and goodwill, and
13
     a “liar’s discount” that will plague the Company’s stock in the future due to the Company’s
14
     and their misrepresentations and the Individual Defendants’ breaches of fiduciary duties
15
     and unjust enrichment.
16
                                 DERIVATIVE ALLEGATIONS
17
           108. Plaintiff brings this action derivatively and for the benefit of Ontrak to redress
18
     injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of
19
     their fiduciary duties as directors and/or officers of Ontrak, unjust enrichment, abuse of
20
     control, gross mismanagement, waste of corporate assets, the aiding and abetting thereof,
21
     as well as for contribution under Sections 10(b) and 21D of the Exchange Act.
22
           109. Ontrak is named solely as a nominal party in this action. This is not a collusive
23
     action to confer jurisdiction on this Court that it would not otherwise have.
24
           110. Plaintiff is, and has been at all relevant times, a shareholder of Ontrak.
25
     Plaintiff will adequately and fairly represent the interests of Ontrak in enforcing and
26
     prosecuting its rights, and, to that end, has retained competent counsel, experienced in
27
     derivative litigation, to enforce and prosecute this action.
28
                                                   28
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 1
                              DEMAND FUTILITY ALLEGATIONS
 2
           111. Plaintiff incorporates by reference and realleges each and every allegation
 3
     stated above as if fully set forth herein.
 4
           112. A pre-suit demand on the Board of Ontrak is futile and, therefore, excused. At
 5
     the time of filing of this action, the Board consists of the following eight individuals:
 6
     Defendants Peizer, Berman, Giraldo, Seloff, Sherman, Quinn, Rebak, and Zecchini
 7
     (collectively, the “Directors”). Plaintiff needs only to allege demand futility as to four of
 8
     the eight Directors who are on the Board at the time this action is commenced.
 9
           113. Demand is excused as to all of the Directors because each one of them faces,
10
     individually and collectively, a substantial likelihood of liability as a result of the scheme
11
     they engaged in knowingly or recklessly to make and/or cause the Company to make false
12
     and misleading statements and omissions of material facts, while causing the Company to
13
     sell shares of preferred stock at artificially inflated prices in two offerings during the
14
     Relevant Period, which renders them unable to impartially investigate the charges and
15
     decide whether to pursue action against themselves and the other perpetrators of the
16
     scheme.
17
           114. In complete abdication of their fiduciary duties, the Directors either
18
     knowingly or recklessly participated in the foregoing scheme. The fraudulent scheme were
19
     intended to make the Company appear more profitable and attractive to investors.
20
     Moreover, the Directors caused the Company to fail to maintain internal controls. As a
21
     result of the foregoing, the Directors breached their fiduciary duties, face a substantial
22
     likelihood of liability, are not disinterested, and demand upon them is futile, and thus
23
     excused.
24
           115. Additional reasons that demand on Defendant Peizer is futile follow.
25
     Defendant Peizer is the founder, Executive Chairman, and former CEO of Ontrak. Thus,
26
     as the Company admits, he is a non-independent director. As CEO during the Relevant
27
     Period, Defendant Peizer was ultimately responsible for all of the false and misleading
28
                                                  29
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 1
     statements and omissions that were made during the Relevant Period, including those he
 2
     personally made in conference calls and in press releases as well as those contained in the
 3
     2Q20 10-Q and 3Q20 10-Q, which he personally signed and for which signed SOX
 4
     certifications. As Executive Chairman, the Company provides Defendant Singh with his
 5
     principal occupation for which he receives handsome compensation. Thus, he cannot
 6
     disinterestedly consider a demand to sue the directors that control his continued
 7
     employment, other members of management with whom he worked or still works, and
 8
     himself. Moreover, Defendant Peizer is named as a defendant in the Securities Class
 9
     Action. As the Company’s highest officer and as a trusted Company director, he conducted
10
     little, if any, oversight of the scheme to cause the Company to make false and misleading
11
     statements, consciously disregarded his duties to monitor such controls over reporting and
12
     engagement in the scheme, and consciously disregarded his duties to protect corporate
13
     assets. For these reasons, Defendant Peizer breached his fiduciary duties, faces a substantial
14
     likelihood of liability, is not independent or disinterested, and thus demand upon him is
15
     futile and, therefore, excused.
16
           116. Additional reasons that demand on Defendant Berman is futile follow.
17
     Defendant Berman has served as a Company director since 2014. Defendant Berman is
18
     entitled to significant compensation for his services. As a trusted Company director, he
19
     conducted little, if any, oversight of the scheme to cause the Company to make false and
20
     misleading statements, consciously disregarded his duties to monitor such controls over
21
     reporting and engagement in the scheme, and consciously disregarded his duties to protect
22
     corporate assets. For these reasons, Defendant Berman breached his fiduciary duties, faces
23
     a substantial likelihood of liability, is not independent or disinterested, and thus demand
24
     upon him is futile and, therefore, excused.
25
           117. Additional reasons that demand on Defendant Sherman is futile follow.
26
     Defendant Sherman has served as a Company director since 2017. Defendant Sherman is
27
     entitled to significant compensation for his services. As a trusted Company director, he
28
                                                   30
                             Verified Shareholder Derivative Complaint
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 1
     conducted little, if any, oversight of the scheme to cause the Company to make false and
 2
     misleading statements, consciously disregarded his duties to monitor such controls over
 3
     reporting and engagement in the scheme, and consciously disregarded his duties to protect
 4
     corporate assets. For these reasons, Defendant Sherman breached his fiduciary duties, faces
 5
     a substantial likelihood of liability, is not independent or disinterested, and thus demand
 6
     upon him is futile and, therefore, excused.
 7
           118. Additional reasons that demand on Defendant Zecchini is futile follow.
 8
     Defendant Zecchini has served as a Company director since 2018. Defendant Zecchini is
 9
     entitled to significant compensation for his role at the Company. As a trusted Company
10
     director, he conducted little, if any, oversight of the scheme to cause the Company to make
11
     false and misleading statements, consciously disregarded his duties to monitor such
12
     controls over reporting and engagement in the scheme, and consciously disregarded his
13
     duties to protect corporate assets. For these reasons, Defendant Zecchini breached his
14
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
15
     disinterested, and thus demand upon him is futile and, therefore, excused.
16
           119. Additional reasons that demand on Defendant Seloff is futile follow.
17
     Defendant Seloff has served as a Company director since 2018. Defendant Seloff is entitled
18
     to significant compensation for her role at the Company. As a trusted Company director,
19
     she conducted little, if any, oversight of the scheme to cause the Company to make false
20
     and misleading statements, consciously disregarded her duties to monitor such controls
21
     over reporting and engagement in the scheme, and consciously disregarded her duties to
22
     protect corporate assets. For these reasons, Defendant Seloff breached her fiduciary duties,
23
     faces a substantial likelihood of liability, is not independent or disinterested, and thus
24
     demand upon her is futile and, therefore, excused.
25
           120. Additional reasons that demand on Defendant Rebak is futile follow.
26
     Defendant Rebak has served as a Company director since 2019. Defendant Rebak is
27
     entitled to significant compensation for his role at the Company. As a trusted Company
28
                                                   31
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 1
     director, he conducted little, if any, oversight of the scheme to cause the Company to make
 2
     false and misleading statements, consciously disregarded his duties to monitor such
 3
     controls over reporting and engagement in the scheme, and consciously disregarded his
 4
     duties to protect corporate assets. For these reasons, Defendant Rebak breached his
 5
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
 6
     disinterested, and thus demand upon him is futile and, therefore, excused.
 7
           121. Additional reasons that demand on Defendant Giraldo is futile follow.
 8
     Defendant Giraldo has served as a Company director since 2019. Defendant Giraldo is
 9
     entitled to significant compensation for his role at the Company. As a trusted Company
10
     director, he conducted little, if any, oversight of the scheme to cause the Company to make
11
     false and misleading statements, consciously disregarded his duties to monitor such
12
     controls over reporting and engagement in the scheme, and consciously disregarded his
13
     duties to protect corporate assets. For these reasons, Defendant Giraldo breached his
14
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
15
     disinterested, and thus demand upon him is futile and, therefore, excused.
16
           122. Additional reasons that demand on Defendant Quinn is futile follow.
17
     Defendant Quinn has served as a Company director since August 2020. Defendant Quinn
18
     is entitled to significant compensation for her role at the Company. As a trusted Company
19
     director, she conducted little, if any, oversight of the scheme to cause the Company to make
20
     false and misleading statements, consciously disregarded her duties to monitor such
21
     controls over reporting and engagement in the scheme, and consciously disregarded her
22
     duties to protect corporate assets. For these reasons, Defendant Quinn breached her
23
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
24
     disinterested, and thus demand upon her is futile and, therefore, excused.
25
           123. Additional reasons that demand on the Board is futile follow.
26
           124. Defendant Peizer, in addition to leading the Board as Executive Chairman, is
27
     a majority shareholder with beneficial ownership of 52.1% of the Company’s common
28
                                                 32
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 1
     stock as of June 10, 2021. In light of this of this, the Directors cannot impartially consider
 2
     a demand against Defendant Peizer, an interested, primary wrongdoer, as they are
 3
     dependent on him for their continued employment with the Company and the lucrative
 4
     compensation that goes with that. Thus, the Directors are unable to evaluate a demand with
 5
     disinterest or independence as a result of Defendant Peizer’s control over them.
 6
           125. Defendants Berman, Seloff, and Giraldo (the “Audit Committee Defendants”)
 7
     served as members of the Audit Committee at all relevant times. The Audit Committee
 8
     Defendants are responsible for overseeing, among other things, the quality and integrity of
 9
     the Company’s financial statements, the Company’s compliance with laws and regulations,
10
     and the Company’s system of internal controls. The Audit Committee Defendants failed to
11
     ensure the integrity of the Company’s financial statements and internal controls and failed
12
     to ensure compliance with laws and regulations as they are charged to do. The Audit
13
     Committee Defendants failure ensure to adequate internal controls were in place caused
14
     the Company to issue false and misleading financial statements to investors and file false
15
     and misleading quarterly reports with the SEC. Thus, the Audit Committee Defendants
16
     breached their fiduciary duties, are not disinterested, and demand is excused as to them.
17
           126. Ontrak has been and will continue to be exposed to significant losses due to
18
     the wrongdoing complained of herein, yet the Directors have not filed any lawsuits against
19
     themselves or others who were responsible for that wrongful conduct to attempt to recover
20
     for Ontrak any part of the damages Ontrak suffered and will continue to suffer thereby.
21
     Thus, any demand upon the Directors would be futile.
22
           127. The Individual Defendants’ conduct described herein and summarized above
23
     could not have been the product of legitimate business judgment as it was based on bad
24
     faith and intentional, reckless, or disloyal misconduct. Thus, none of the Directors can
25
     claim exculpation from their violations of duty pursuant to the Company’s charter (to the
26
     extent such a provision exists). As a majority of the Directors face a substantial likelihood
27
     of liability, they are self-interested in the transactions challenged herein and cannot be
28
                                                  33
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 1
     presumed to be capable of exercising independent and disinterested judgment about
 2
     whether to pursue this action on behalf of the shareholders of the Company. Accordingly,
 3
     demand is excused as being futile.
 4
           128. The acts complained of herein constitute violations of fiduciary duties owed
 5
     by Ontrak’s officers and directors, and these acts are incapable of ratification.
 6
           129. The Directors may also be protected against personal liability for their acts of
 7
     mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’
 8
     liability insurance if they caused the Company to purchase it for their protection with
 9
     corporate funds, i.e., monies belonging to the stockholders of Ontrak. If there is a directors’
10
     and officers’ liability insurance policy covering the Directors, it may contain provisions
11
     that eliminate coverage for any action brought directly by the Company against the
12
     Directors, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the
13
     Directors were to sue themselves or certain of the officers of Ontrak, there would be no
14
     directors’ and officers’ insurance protection. Accordingly, the Directors cannot be
15
     expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this
16
     action is brought, such insurance coverage, if such an insurance policy exists, will provide
17
     a basis for the Company to effectuate a recovery. Thus, demand on the Directors is futile
18
     and, therefore, excused.
19
           130. If there is no directors’ and officers’ liability insurance, then the Directors will
20
     not cause Ontrak to sue the Individual Defendants named herein, since, if they did, they
21
     would face a large uninsured individual liability. Accordingly, demand is futile in that
22
     event, as well.
23
           131. Thus, for all of the reasons set forth above, all of the Directors, and, if not all
24
     of them, at least four of the Directors, cannot consider a demand with disinterestedness and
25
     independence. Consequently, a demand upon the Board is excused as futile.
26
                                           FIRST CLAIM
27
               Against the Individual Defendants for Breach of Fiduciary Duties
28
                                                   34
                             Verified Shareholder Derivative Complaint
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 1
            132. Plaintiff incorporates by reference and realleges each and every allegation set
 2
     forth above, as though fully set forth herein.
 3
            133. Each Individual Defendant owed to the Company the duty to exercise candor,
 4
     good faith, and loyalty in the management and administration of Ontrak’s business and
 5
     affairs.
 6
            134. Each of the Individual Defendants violated and breached his fiduciary duties
 7
     of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
 8
            135. The Individual Defendants’ conduct set forth herein was due to their
 9
     intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
10
     herein. The Individual Defendants intentionally or recklessly breached or disregarded their
11
     fiduciary duties to protect the rights and interests of Ontrak.
12
            136. In breach of their fiduciary duties owed to Ontrak, the Individual Defendants
13
     willfully or recklessly made and/or caused the Company to make false and/or misleading
14
     statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the
15
     Company was being evaluated on how it executed on a corrective action plan sent by its
16
     largest customer, though the Company had no plans to meaningful address this corrective
17
     action plan; (2) due to this evaluation, the Company’s largest customer was not likely to
18
     find Ontrak to be effective and was therefore likely to not renew its contract with Ontrak;
19
     (3) the loss of its largest customer would significantly harm the Company’s revenue and
20
     financial results; (4) therefore, Ontrak could not achieve its projected revenue guidance for
21
     the 2021 fiscal year; and (5) the Company failed to maintain adequate internal controls. As
22
     a result of the foregoing, Ontrak’s public statements were materially false and misleading
23
     at all relevant times.
24
            137. The Individual Defendants failed to correct and/or caused the Company to fail
25
     to correct the false and/or misleading statements and/or omissions of material fact, which
26
     renders them personally liable to the Company for breaching their fiduciary duties.
27

28
                                                   35
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 1
           138. Also in breach of their fiduciary duties, the Individual Defendants caused the
 2
     Company to fail to maintain internal controls.
 3
           139. The Individual Defendants had actual or constructive knowledge that the
 4
     Company issued materially false and misleading statements, and they failed to correct the
 5
     Company’s public statements and representations. The Individual Defendants had actual
 6
     knowledge of the misrepresentations and omissions of material facts set forth herein, or
 7
     acted with reckless disregard for the truth, in that they failed to ascertain and to disclose
 8
     such facts, even though such facts were available to them. Such material misrepresentations
 9
     and omissions were committed knowingly or recklessly and for the purpose and effect of
10
     artificially inflating the price of Ontrak’s securities.
11
           140. The Individual Defendants had actual or constructive knowledge that they had
12
     caused the Company to improperly engage in the fraudulent scheme set forth herein and to
13
     fail to maintain internal controls. The Individual Defendants had actual knowledge that the
14
     Company was engaging in the fraudulent scheme set forth herein, and that internal controls
15
     were not adequately maintained, or acted with reckless disregard for the truth, in that they
16
     caused the Company to improperly engage in the fraudulent scheme and to fail to maintain
17
     adequate internal controls, even though such facts were available to them. Such improper
18
     conduct was committed knowingly or recklessly and for the purpose and effect of
19
     artificially inflating the price of Ontrak’s securities. The Individual Defendants, in good
20
     faith, should have taken appropriate action to correct the scheme alleged herein and to
21
     prevent it from continuing to occur.
22
           141. These actions were not a good-faith exercise of prudent business judgment to
23
     protect and promote the Company’s corporate interests.
24
           142. As a direct and proximate result of the Individual Defendants’ breaches of
25
     their fiduciary obligations, Ontrak has sustained and continues to sustain significant
26
     damages. As a result of the misconduct alleged herein, the Individual Defendants are liable
27
     to the Company.
28
                                                    36
                              Verified Shareholder Derivative Complaint
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 1
           143. Plaintiff on behalf of Ontrak has no adequate remedy at law.
 2
                                         SECOND CLAIM
 3
                       Against Individual Defendants for Unjust Enrichment
 4
           144. Plaintiff incorporates by reference and realleges each and every allegation set
 5
     forth above, as though fully set forth herein.
 6
           145. By their wrongful acts, violations of law, and false and misleading statements
 7
     and omissions of material fact that they made and/or caused to be made, the Individual
 8
     Defendants were unjustly enriched at the expense of, and to the detriment of, Ontrak.
 9
           146. The Individual Defendants either benefitted financially from the improper
10
     conduct, or received bonuses, stock options, or similar compensation from Ontrak that was
11
     tied to the performance or artificially inflated valuation of Ontrak, or received
12
     compensation or other payments that were unjust in light of the Individual Defendants’ bad
13
     faith conduct.
14
           147. Plaintiff, as a shareholder and a representative of Ontrak, seeks restitution
15
     from the Individual Defendants and seeks an order from this Court disgorging all profits,
16
     including from insider transactions, the redemption of preferred stock, benefits, and other
17
     compensation, including any performance-based or valuation-based compensation,
18
     obtained by the Individual Defendants due to their wrongful conduct and breach of their
19
     fiduciary and contractual duties.
20
           148. Plaintiff on behalf of Ontrak has no adequate remedy at law.
21
                                          THIRD CLAIM
22
                       Against Individual Defendants for Abuse of Control
23
           149. Plaintiff incorporates by reference and realleges each and every allegation set
24
     forth above, as though fully set forth herein.
25
           150. The Individual Defendants’ misconduct alleged herein constituted an abuse of
26
     their ability to control and influence Ontrak, for which they are legally responsible.
27

28
                                                  37
                             Verified Shareholder Derivative Complaint
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 1
           151. As a direct and proximate result of the Individual Defendants’ abuse of
 2
     control, Ontrak has sustained significant damages. As a result of the misconduct alleged
 3
     herein, the Individual Defendants are liable to the Company.
 4
           152. Plaintiff on behalf of Ontrak has no adequate remedy at law.
 5
                                         FOURTH CLAIM
 6
                   Against Individual Defendants for Gross Mismanagement
 7
           153. Plaintiff incorporates by reference and realleges each and every allegation set
 8
     forth above, as though fully set forth herein.
 9
           154. By their actions alleged herein, the Individual Defendants, either directly or
10
     through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
11
     duties with regard to prudently managing the assets and business of Ontrak in a manner
12
     consistent with the operations of a publicly-held corporation.
13
           155. As a direct and proximate result of the Individual Defendants’ gross
14
     mismanagement and breaches of duty alleged herein, Ontrak has sustained and will
15
     continue to sustain significant damages.
16
           156. As a result of the misconduct and breaches of duty alleged herein, the
17
     Individual Defendants are liable to the Company.
18
           157. Plaintiff on behalf of Ontrak has no adequate remedy at law.
19
                                           FIFTH CLAIM
20
                 Against Individual Defendants for Waste of Corporate Assets
21
           158. Plaintiff incorporates by reference and realleges each and every allegation set
22
     forth above, as though fully set forth herein.
23
           159. The Individual Defendants caused the Company to pay the Individual
24
     Defendants excessive salaries and fees, to the detriment of the shareholders and the
25
     Company.
26
           160. As a result of the foregoing, and by failing to properly consider the interests
27
     of the Company and its public shareholders, the Individual Defendants have caused Ontrak
28
                                                  38
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 1
     to waste valuable corporate assets, to incur many millions of dollars of legal liability and/or
 2
     costs to defend unlawful actions, to engage in internal investigations, and to lose financing
 3
     from investors and business from future customers who no longer trust the Company and
 4
     its products.
 5
           161. As a result of the waste of corporate assets, the Individual Defendants are each
 6
     liable to the Company.
 7
           162. Plaintiff on behalf of Ontrak has no adequate remedy at law.
 8
                                           SIXTH CLAIM
 9
             Against Defendants Peizer, LaVerne, and Medeiros for Contribution
10
                       Under Sections 10(b) and 21D of the Exchange Act
11
           163. Plaintiff incorporates by reference and realleges each and every allegation set
12
     forth above, as though fully set forth herein.
13
           164. Ontrak, and Defendants Peizer, LaVerne, and Medeiros are named as
14
     defendants in the Securities Class Action, which asserts claims under the federal securities
15
     laws for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5
16
     promulgated thereunder. If and when the Company is found liable in the Securities Class
17
     Action for these violations of the federal securities laws, the Company’s liability will be in
18
     whole or in part due to Defendants Peizer’s, LaVerne’s, and Medeiros’ willful and/or
19
     reckless violations of their obligations as controlling shareholder, officers, and/or director
20
     of Ontrak.
21
           165. Defendants Peizer, LaVerne, and Medeiros because of their positions of
22
     control and authority as CEO and controlling shareholder, CFO, and COO, respectively,
23
     were able to and did, directly and/or indirectly, exercise control over the business and
24
     corporate affairs of Ontrak, including the wrongful acts complained of herein and in the
25
     Securities Class Actions
26
           166. Accordingly, Defendants Peizer, LaVerne, and Medeiros are liable under 15
27
     U.S.C. § 78j(b), which creates a private right of action for contribution, and Section 21D
28
                                                   39
                              Verified Shareholder Derivative Complaint
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 1
     of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right
 2
     of action for contribution arising out of violations of the Exchange Act.
 3
           167. As such, Ontrak is entitled to receive all appropriate contribution or
 4
     indemnification from Defendants Peizer, LaVerne, and Medeiros.
 5
                                       PRAYER FOR RELIEF
 6
           FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
 7
     against all Individual Defendants as follows:
 8
                  (a)     Declaring that Plaintiff may maintain this action on behalf of Ontrak,
 9
     and that Plaintiff is an adequate representative of the Company;
10
                  (b)     Declaring that the Individual Defendants have breached and/or aided
11
     and abetted the breach of their fiduciary duties to Ontrak;
12
                  (c)     Determining and awarding to Ontrak the damages sustained by it as a
13
     result of the violations set forth above from each of the Individual Defendants, jointly and
14
     severally, together with pre-judgment and post-judgment interest thereon;
15
                  (d)     Directing Ontrak and the Individual Defendants to take all necessary
16
     actions to reform and improve Ontrak’s corporate governance and internal procedures to
17
     comply with applicable laws and to protect Ontrak and its shareholders from a repeat of
18
     the damaging events described herein, including, but not limited to, putting forward for
19
     shareholder vote the following resolutions for amendments to the Company’s Bylaws or
20
     Certificate of Incorporation and the following actions as may be necessary to ensure proper
21
     corporate governance policies:
22
                        1. a proposal to strengthen the Board’s supervision of operations and
23
               develop and implement procedures for greater shareholder input into the
24
               policies and guidelines of the board;
25
                        2. a provision to permit the shareholders of Ontrak to nominate at least
26
               four candidates for election to the Board;
27
                        3. a proposal to ensure the establishment of effective oversight of
28
                                                   40
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 1
               compliance with applicable laws, rules, and regulations;
 2
                  (e)   Awarding Ontrak restitution from Individual Defendants, and each of
 3
               them;
 4
                  (f)   Awarding Plaintiff the costs and disbursements of this action, including
 5
     reasonable attorneys’ and experts’ fees, costs, and expenses; and
 6
                  (g)   Granting such other and further relief as the Court may deem just and
 7
     proper.
 8
                                   JURY TRIAL DEMANDED
 9

10
     Plaintiff hereby demands a trial by jury.
11
        Dated: October 6, 2021                   Respectfully submitted,
12

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24
                                                 Counsel for Plaintiff
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                            Verified Shareholder Derivative Complaint
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